              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            CENTRAL DIVISION


RONALD BERNARD,                              )
                                             )
               Plaintiff,                    )
      v.                                     )
                                             )      Case No. 19-04043-CV-C-NKL
KANSAS CITY LIFE INSURANCE                   )
CO.,                                         )
                                             )
               Defendant.                    )

                               JUDGMENT IN A CIVIL CASE
      ___      Jury Verdict. This action came before the Court for a trial by jury.

      X        Decision by Court. This action came before the Court. The issues have been
               determined and a decision has been made.


      IT IS ORDERED AND ADJUDGED that pursuant to the Order, Doc. [29], entered by the

Honorable Nanette Laughrey on February 28, 2020, Defendant’s motion in limine is GRANTED,

Defendant’s motion for summary judgment is DENIED, and Bernard’s motion for summary

judgment is GRANTED.


Date: March 2, 2020                          PAIGE WYMORE-WYNN
                                             Clerk of Court

                                             s/ RENEA MATTHES MITRA
                                             By: Renea Matthes Mitra, Courtroom Deputy




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